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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND

In re:                                            *

JESSICA D. JONES                                  *       CASE NO.: 22-1-4559-NVA
                                                           (Chapter 13)

           Debtor                                 *

*          *        *     *       *       *       *

ALLY BANK                                         *

           Movant                                 *

    v.                                            *

JESSICA D. JONES                                  *

           Respondent                             *

*          *        *     *       *      *    *    *    *                 *       *       *      *
                                        NOTICE OF DEFAULT
           Ally Bank, Movant, by its attorney, Michael J. Klima, Jr., files its Notice of the Debtor's

default in terms of the Consent Order Modifying Automatic Stay entered by this Court on October

9, 2024 as to one Acura TLX Sedan 4D Advance AWD 3.5L V6. Debtor is currently in default

in the amount of $4,759.64 pursuant to said Consent Order and as shown by the attached payment

history.

                                                  /s/ Michael J. Klima, Jr.
                                                  Michael J. Klima, Jr. #25562
                                                  8028 Ritchie Highway, Ste 300
                                                  Pasadena, MD 21122
                                                  410-768-2280
                                                  Attorney for Movant
                                                  Attorney File No.: 24-78174-0
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                                  CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 10th day of April, 2025, a copy of the foregoing Notice

of Default was mailed, by first class mail postage prepaid to:


Jessica D. Jones
7507 Slate Drive
Windsor Mill, Maryland 21244

Eric Steiner
3030 Greenmount Avenue
Suite 300, PMB 83805
Baltimore, MD 21218-6907

Brian A. Tucci
P.O. Box 1110
Millersville, MD 21108



                                               /s/ Michael J. Klima, Jr.
                                               Michael J. Klima, Jr.
